Case 1:17-cr-20275-RLR Document 83-1 Entered on FLSD Docket 10/18/2022 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 17-CR-20275-ROSENBERG

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  KEVIN CHRISTIAN FUSCO,

        Defendant.
  ___________________________________/

                        ORDER ON DEFENDANT’S UNOPPOSED
                         MOTION TO CONTINUE SENTENCING

        This cause came before the Court on Mr. Fusco’s Unopposed Motion to

  Continue Sentencing, and the Court being fully advised in the premises, and after

  careful consideration, for the reasons stated in Mr. Fusco’s Motion, it is

        ORDERED AND ADJUDGED that Mr. Fusco’s Motion is GRANTED and the

  cause shall be scheduled for sentencing on ____________________________ at

  _________________.

        DONE AND ORDERED in Chambers, at West Palm Beach, Florida, this

  ______ day of October, 2022.



                                          _____________________________________
                                          ROBIN L. ROSENBERG
                                          UNITED STATES DISTRICT JUDGE
